      Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 1 of 9 PageID #:650




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 Susanna Grimaldo,

      Plaintiff,
                                                  No. 20 CV 7775
 v.
                                                  Judge Lindsay C. Jenkins
 Illinois Department of Human Services,

      Defendant.

                          MEMORANDUM OPINION AND ORDER

        Susanna Grimaldo filed suit pro se against her former employer, the Illinois

Department of Human Services, for race and national origin discrimination in

violation of Title VII of the Civil Rights Act. IDHS moved for summary judgment.

Because Grimaldo has presented no evidence that would allow a reasonable jury to

find in her favor, the Court grants the motion.

I.      Local Rule 56.1

        “On summary judgment, the Court limits its analysis of the facts to the

evidence that is presented in the parties’ Local Rule 56.1 statements.” Kirsch v.

Brightstar Corp., 78 F. Supp. 3d 676, 697 (N.D. Ill. 2015). The statements serve a

valuable purpose: they help the Court in “organizing the evidence and identifying

disputed facts.” Fed. Trade Comm’n v. Bay Area Bus. Council, Inc., 423 F.3d 627, 633

(7th Cir. 2005). “To dispute an asserted fact, a party must cite specific evidentiary

material that controverts the fact and must concisely explain how the cited material

controverts the asserted fact. Asserted facts may be deemed admitted if not

controverted with specific citations to evidentiary material.” L.R. 56.1(e)(3).


                                           1
    Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 2 of 9 PageID #:651




       Any party, including a pro se litigant, who fails to comply with Local Rule 56.1

does so at their own peril. Wilson v. Kautex, Inc., 371 Fed. App’x 663, 664 (7th Cir.

2010) (“strictly enforcing Local Rule 56.1 was well within the district court’s

discretion, even though [employee] is a pro se litigant” (cleaned up)); Collins v.

Illinois, 554 F.3d 693, 697 (7th Cir. 2009) (“even pro se litigants must follow

procedural rules”); Parker v. Fern, 2024 WL 1116092, at *2 (N.D. Ill. Mar. 14, 2024)

(“It is well-settled that a plaintiff’s pro se status does not excuse him from complying

with federal and local procedural rules.”).

       Here, IDHS filed a Rule 56.1 statement, and as required by Rule 56.2, served

Grimaldo with a “Notice to Pro Se Litigant Opposing Motion for Summary

Judgment.” [Dkts. 83, 84.] This filing explains what a motion for summary judgment

is and what steps Grimaldo needed to take to respond to the motion. Notwithstanding

these instructions, Grimaldo failed to file any response to the motion or to the Rule

56.1 statement. The Court, on its own motion, extended the deadline for Grimaldo to

respond to October 29, 2024, advising her in a minute order that the Court would rule

on the motion without the benefit of her position if no response was filed by that date.

[Dkt. 93.] Again, nothing was filed. Consequently, the Court takes all its facts from

IDHS’s filing and deems them admitted to the extent they are supported by evidence

in the record. L.R. 56.1(e)(3). 1


1       While the facts presented in the Rule 56.1 Statement are undisputed, this does not
absolve the Court of its responsibility to determine whether IDHS has “show[n] that
summary judgment [is] proper given the undisputed facts, with those facts taken as usual in
the light most favorable to the nonmovant.” Robinson v. Waterman, 1 F.4th 480, 483 (7th Cir.
2021) (citing Yancick v. Hanna Steel Corp., 653 F.3d 532, 543 (7th Cir. 2011) (noting that


                                              2
      Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 3 of 9 PageID #:652




II.     Background

        IDHS is a department of the State of Illinois that operates the Chicago Read

Mental Health Center (“Chicago Read”) located in Chicago. Grimaldo, who is

Mexican-American, worked for the state of Illinois beginning in 2011. In June 2015,

Grimaldo worked for the Public Aid department as a Human Service Caseworker.

She later became involved in IDHS’s career mobility program called “Upward

Mobility,” which is designed to allow state employees to advance to more challenging,

higher paying positions.

        On June 1, 2018, Grimaldo was promoted to a probationary Social Worker II

position at Chicago Read, which is an inpatient psychiatric facility that provides care

for adult patients with serious mental illness. [Id. at ¶10–11.] Chicago Read provides

acute and extended care to patients, and houses individuals who are deaf and hard

of hearing. Id.

        Denise Blumenthal was Grimaldo’s supervisor and evaluator. [Dkt. 83 at ¶ 14.]

As a Social Worker II, Grimaldo was required to complete comprehensive written

documentation for patients on her caseload that would be included in each patient’s

medical records. [Id. at ¶12.] According to Blumenthal, the patient documentation is

“legally required and constitutes a legal record”; “accurate and clear patient

documentation” is of paramount importance to “inform later decisions regarding

patient care.” Id. Documentation that is not accurate or complete can “place patients




summary judgment may not be granted against the nonmovant when she fails to file a
response “as some kind of sanction”)).
                                          3
    Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 4 of 9 PageID #:653




in danger, affect the outcome of legal proceedings, and expose the facility to potential

liability.” Id.

       As a probationary Social Worker II, Grimaldo received two formal evaluations.

For the first evaluation on August 9, 2018, Blumenthal related that Grimaldo did not

meet any of her work objectives and was rated “Needs Improvement” in all evaluation

areas except “initiative” and “human relations.” [Dkt. 83-1 at 61.] Blumenthal

described Grimaldo’s written work product as “disjointed or not understandable,” and

explained that Grimaldo was:

       gravely lacking in knowledge of how to understand or treat the mentally
       ill. For instance, on an early progress note about a patient who was
       admitted following a suicide attempt, she incorrectly wrote that the
       patient had [ ] postpartum depression (the patient had never had a
       child). Of equal concern, her writing is not sufficiently articulate to
       clearly communicate ideas or treatment options that are coherent. This
       presents a situation that is possibly dangerous because her notes might
       miscommunicate about patient care. Additionally, progress notes and
       the Treatment Plan are legal documents. Due to her deficits, all her
       written work has to be reviewed and then re-written by her supervisor
       before it can be submitted in the chart.

[Dkt. 83-1 at 62.] Blumenthal attached examples of Grimaldo’s work product to the

evaluation. [Id. at 78-82] Grimaldo submitted a written response to her evaluation,

objecting to several of Blumenthal’s criticisms. [Dkt. 83-1 at 65-68.]

       For the second evaluation on September 4, 2018, Blumenthal found that

Grimaldo did not meet any of the objectives that were included in the first evaluation

and rated her performance as “Needs Improvement” in all areas except “initiative”

and “human relations.” [Id. at 72.] In the comments section, Blumenthal wrote

“[u]nfortunately, improvement in her ability to write has not progressed sufficiently

with my significant level of supervisory oversight. Her writing skills do not support
                                           4
    Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 5 of 9 PageID #:654




clear, coherent, and grammatically correct reporting. I have had to continue to

provide continuous oversight of reviewing and rewriting her documentation in order

to make them appropriate for medical chart submission.” [Id. at 73.] Blumenthal

again attached examples of Grimaldo’s written work and the corrections her work

required. [Id. at 90-92.]

      On September 4, 2018, Blumenthal wrote a memo to Chicago Read’s head

administrator relaying that Blumenthal did not believe she could certify Grimaldo

for the position of Social Worker II at the completion of her probationary period.

Blumenthal cited, among other concerns, Grimaldo’s poor writing, unsatisfactory or

unexplained overtime requests, and delinquent charting following patient chart

reviews. [Dkt. 83-1 at 106-109.] Blumenthal sent a similar letter to the Director of

Central Management Services for IDHS later in the month of September, again

explaining that Blumenthal could not certify Grimaldo to continue as a Social Worker

II. [Dkt. 83-1 at 153.] Grimaldo was demoted effective October 1, 2018 to her prior

position as a caseworker. [Dkt. 83-1 at 12.]

      Grimaldo initiated this lawsuit pro se by filing a copy of her EEOC right to sue

letter on the docket. [Dkt. 1.] She eventually filed a complaint, which IDHS moved to

dismiss. The Court concluded that Grimaldo’s complaint stated a claim for Title VII

discrimination on the basis of national origin and race, but it dismissed her 42 U.S.C.

§ 1983 claim and her Title VII claims based on color. [Dkt. 27.] IDHS now moves for

summary judgment.




                                          5
       Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 6 of 9 PageID #:655




III.     Legal Standard

         Summary judgment “is the ‘put up or shut up’ moment in a lawsuit, when a

party must show what evidence it has that would convince a trier of fact to accept its

version of events.” Wade v. Ramos, 26 F.4th 440, 446 (7th Cir. 2022) (quoting Schacht

v. Wis. Dept’ of Corr., 175 F.3d 497, 504 (7th Cir. 1999)). A party opposing summary

judgment must “set forth specific facts showing that there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). Summary judgment is

proper if the nonmoving party “fails to make a showing sufficient to establish the

existence of an element essential to that party’s case, and on which that party will

bear the burden of proof at trial.” Ellis v. CCA of Tennessee LLC, 650 F.3d 640, 646

(7th Cir. 2011) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

IV.      Analysis

         Under Title VII, an employer may not “discriminate against any individual

with respect to his compensation, terms, conditions, or privileges of employment,

because of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C.

§ 2000e-2(a)(1). Put differently, “if changing the employee’s” race or other protected

characteristic “would have yielded a different choice by the employer,” then “a

statutory violation has occurred.” Bostock v. Clayton Cty. Ga., 140 S. Ct. 1731, 1741

(2020).

         A plaintiff may use either the burden-shifting method under McDonnell

Douglas Corp. v. Green, 411 U.S. 792 (1973), or the holistic method under Ortiz v.

Werner Enters., Inc., 834 F.3d 760, 765 (7th Cir. 2016) to establish a Title VII claim.

Under the McDonnell Douglas burden shifting framework, the plaintiff has the

                                           6
    Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 7 of 9 PageID #:656




“initial burden to establish a prima facie case of discrimination” by showing that (1)

she is a member of a protected class; (2) she was meeting his employer’s legitimate

job expectations; (3) she suffered an adverse employment action; and (4) similarly

situated employees outside her protected class were treated more favorably. Wince v.

CBRE, Inc., 66 F.4th 1033, 1040 (7th Cir. 2023).

      Grimaldo is a member of a protected class because she is Mexican-American,

and she suffered an adverse employment action because she was demoted from the

Social Worker II role effective October 1, 2018. 2 Hackett v. City of South Bend, 956

F.3d 504, 508 (7th Cir. 2020) (“Materially adverse actions include termination,

demotion accompanied by a decrease in pay, or a material loss of benefits or

responsibilities, but do not include ‘everything that makes an employee unhappy.’”)

The sole question for the Court then is “whether the evidence would permit a

reasonable factfinder to conclude that” Grimaldo’s race or national origin caused the

adverse employment action. Wince, 66 F.4th at 1040.

      There can be no dispute Grimaldo did not meet IDHS’s legitimate job

expectations. “[W]hen a district court evaluates the question of whether an employee

was meeting an employer’s legitimate employment expectations, the issue

is … whether the employee was performing well at the time of [the adverse action].”

Peele v. Country Mut. Ins. Co., 288 F.3d 319, 329 (7th Cir. 2002) (cleaned up). In

analyzing an employer’s stated evaluation of those expectations, “[t]he question is not




2     The Court assumes Grimaldo’s demotion was also accompanied by a decrease in pay.
                                          7
    Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 8 of 9 PageID #:657




whether the ratings were right but whether the employer’s description of its reasons

is honest.” Gustovich v. AT & T Commc’ns, Inc., 972 F.2d 845, 848 (7th Cir. 1992).

      Here, IDHS thoroughly documented Grimaldo’s performance failures in the

Social Worker II role. Both of Blumenthal’s performance evaluations pointed to

several key deficiencies, most notably Grimaldo’s unsatisfactory written work,

including with citations to specific examples of the poor quality of her submissions.

Blumenthal also explained how Grimaldo’s poor work product potentially put

patients at risk and required others (primarily Blumenthal) to rewrite the

information to ensure it was accurate and reliable. Simply put, Grimaldo’s

performance is similar to the plaintiff in Igasaki v. Illinois Department of Financial

& Professional Regulation: her “performance was at best, lackluster, and at worst,

unacceptable.” 988 F.3d 948, 958 (7th Cir. 2021). The decision to demote her then was

not based on any consideration of her protected characteristics, but rather on her

continued deficiencies around core skills required for good patient social workers.

Even when the evidence is viewed charitably in her favor, no jury could reasonably

find otherwise.

      Grimaldo likewise presents no evidence establishing that there were any

“similarly situated employees” outside her class who were treated better than her, so

she cannot establish a prima facie case of race or national origin discrimination for

that reason either.

      Even if Grimaldo could establish a prima facie case under McDonnell Douglas,

the Court would need to assess whether her demotion was pretextual. This overlaps



                                          8
     Case: 1:20-cv-07775 Document #: 95 Filed: 10/31/24 Page 9 of 9 PageID #:658




with the Ortiz framework. Under Ortiz, the Court looks at all of the evidence together

and asks simply “whether the evidence would permit a reasonable factfinder to

conclude that the plaintiff’s [membership in a protected class] . . . caused the

discharge or other adverse employment action” at issue. Id.; see also Lewis v. Ind.

Wesleyan Univ., 36 F.4th 755 at 760 (7th Cir. 2022) (the court assesses the evidence

as a whole, rather than asking whether any particular piece of evidence proves the

case by itself). Ortiz holds that “all evidence belongs in a single pile and must be

evaluated as a whole.” 834 F.3d at 766.

       Nothing on this record constitutes sufficient evidence of race or national origin

discrimination; even in a pile, it does not amount to evidence from which a jury could

reasonably conclude that any alleged discrimination was because of membership in a

protected class. Because Grimaldo has failed to raise any triable issue of fact, IDHS

is entitled to summary judgment.

V.     Conclusion

       For the foregoing reasons, IDHS’s motion for summary judgment is granted.

The clerk is also directed to terminate Defendant Denise Blumenthal for the reasons

given in the Court’s prior order. Dkt. 27 at 8-9; Robertson v. Dept. of Health Servs.,

949 F.3d 371, 374 (7th Cir. 2020) (“Title VII authorizes suit only against an employer

as an entity, not against individuals.”)



Enter: 20 CV 7775
Date: October 31, 2024
                                           __________________________________________
                                           Lindsay C. Jenkins
                                           United States District Judge
                                             9
